            Case 2:20-cv-00509-RAJ Document 21-2 Filed 03/12/21 Page 1 of 2




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2                                                                  The Honorable Richard A. Jones

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7                               UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
8

9
      United Federation of Churches, LLC (dba        )
10    “The Satanic Temple”),                         )           No. 2:20-cv-00509-RAJ
                                                     )
11                           Plaintiff,              )           [PROPOSED] ORDER GRANTING
                                                     )           PLAINTIFF’S  MOTION   FOR
12                   v.                              )           RECONSIDERATION
                                                     )
13    David Alan Johnson (aka “ADJ”), Leah           )           NOTE FOR MOTION CALENDAR:
      Fishbaugh, Mickey Meeham, and Nathan           )           March 12, 2021
14    Sullivan,                                      )
                                                     )
15                           Defendants.             )

16

17          This matter came before the Court on Plaintiff’s Motion for Reconsideration (the

18   “Motion”). The Court has considered the submissions of the parties on the Motion, and has

19   reviewed any other pertinent facts in the record that have been cited by the parties. The Court
20   now ORDERS as follows:
21
            The Court GRANTS Plaintiff’s Motion for Reconsideration, reversing its prior Orders
22
     dismissing Plaintiff’s claims for cyberpiracy and defamation, Doc. 20.
23
            IT IS SO ORDERED this _______ day of _______, 2021.
24

25                                                       _________________________
                                                         Honorable Richard A. Jones
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      [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR                         Lybeck Pedreira & Justus PLLC
                                                                                     Chase Bank Building
      RECONSIDERATION - 1
                                                                                7900 SE 28th Street, Fifth Floor

      No. 2:20-cv-00509-RAJ                                                       Mercer Island, WA 98040
                                                                               206-230-4255 Fax 206-230-7791
           Case 2:20-cv-00509-RAJ Document 21-2 Filed 03/12/21 Page 2 of 2




1    PRESENTED BY:

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3
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     And: /s/ Matthew A. Kezhaya
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      [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR          Lybeck Pedreira & Justus PLLC
                                                                      Chase Bank Building
      RECONSIDERATION - 2
                                                                 7900 SE 28th Street, Fifth Floor

      No. 2:20-cv-00509-RAJ                                        Mercer Island, WA 98040
                                                                206-230-4255 Fax 206-230-7791
